Case 2:16-cv-06576-KM-MAH Document 266-7 Filed 10/10/22 Page 1 of 3 PageID: 11856




               Exhibit 7
Case 2:16-cv-06576-KM-MAH Document 266-7 Filed 10/10/22 Page 2 of 3 PageID: 11857



                                 THE INGBER LAW FIRM
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     MARK J. INGBER*
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     EMILY SANTANA*                EMAIL: INGBER.LAW@VERIZON.NET
      *MEMBER NJ & NY BAR


     February 14, 2018

     VIA EMAIL
     Attn: Sarah Levitan, Esq.
     Reed Smith LLP
     599 Lexington Avenue
     New York, NY 10022

             Re:      Industria de Alimentos Zenu S.A.S. v. Latinfood U.S. Corp., et al,
                      2:16-CV-06576-KM-MAH

     Dear Sarah:

     Attached is the supplemental discovery production to date, resulting from Defendants' diligent
     efforts to reach out to vendors in order to recover emails and/or documentation which was lost due
     to an unforeseeable hard drive failure.

     Below   are     Defendants' supplemental responses to Defendants' August 9, 2017 Discovery
     Responses     to Plaintiff's Requests for Production of Documents ("Defendants' Responses").

     The following supplemental documents are further responsive to Plaintiff's May          15,   2017
     Requests for the Production of Documents ("Plaintiff's Requests"):

        •    Request # 18: All communications with designers of the labels for Defendants'
             Products, including any materials or samples provided to those designers-
             See Attorneys' Eyes Only Bates Nos.: LATIN000202-LATIN000364.


        •    Request #19: All communications with the photographers capturing Defendants'
             Products, whether for labels or advertising, including any materials or samples
             provided to those photographers See Attorneys' Eyes Only Bates Nos.: LATIN000365-
                                                -


             LATIN000391.

        •    Request #24: All documents that suggest any instances or possible instances of
             confusion between Plaintiff's and Defendants' use of the Zend name or mark,
             including but not limited to misdirected mail, telephone calls, orders, complaints and
             inquiries as to affiliation, sponsorship, or relation- See Attorneys' Eyes Only Bates No.:
             LATIN000201.



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                                                                                                   EXHIBIT
Case 2:16-cv-06576-KM-MAH Document 266-7 Filed 10/10/22 Page 3 of 3 PageID: 11858




     Defendants' Crashed Hard Drive

     See   Attorneys' Eyes Only Bates Nos.: LATIN000195             LATIN000200 demonstrating
                                                                                       -


     Defendants' good faith efforts to recover lost emails and/or documentation from its vendors
     resulting from the crashed hard drive.

     The following are Defendants' amended responses to Defendants' August 9, 2017 Discovery
     Responses to Plaintiff's Interrogatories Directed to Defendant Wilson Zuluaga and Defendant
     Latinfood U.S. Corp. d/bla Zenú Products Co. ("Defendants' Interrogatory Responses"):

           •   Interrogatory #6 (directed to Defendant Wilson Zuluaga): Identify how Mr. Zuluaga
               became aware of Plaintiff's ZENU mark, including the timeframe in which he became
               aware- Defendant became aware of Plaintiff's alleged ZENÚ mark in the United States
               upon receiving a January 24, 2013 email from "J. Briggs" at USTM (see Bates No.
               USTM0000002).

           •   Interrogatory #7 (directed to Defendant Wilson Zuluaga): Identify how Mr. Zuluaga
               became aware of Plaintiff's RANCHERA mark, including the timeframe in which he
               became aware- Defendant became aware of Plaintiff's alleged RANCHERA mark in the
               United States upon receiving a January 24, 2013 email from "J. Briggs" at USTM (see
               Bates No. USTM0000002).

           •   Interrogatory # 19 (directed to Defendant Latinfood U.S. Corp.): Describe when and
               how Defendants' first became aware of Plaintiff's use of the ZENÚ mark- Defendant
               became aware of Plaintiff's alleged ZENÚ mark in the United States upon receiving a
               January 24, 2013 email from "J. Briggs" at USTM (see Bates No. USTM0000002).

           •   Interrogatory #20 (directed to Defendant Latinfood U.S. Corp.): Describe when and
               how Defendants' first became aware of Plaintiff's use of the RANCHERA mark-
               Defendant became aware of Plaintiff's alleged RANCHERA mark in the United States
               upon receiving a January 24, 2013 email from "J. Briggs" at USTM (see Bates No.
               USTM0000002).

     Pursuant to the foregoing, we believe this letter obviates any and all of Plaintiff s possible
     spoliation claims. If there are any remaining objections, Plaintiff should inform us of such
     immediately and we will seek to attend to any outstanding objections accordingly.


     Very truly yours,

     THE INGBER LAW FIRM



     By:
               Mark J. Ingber, Esq.

     cc:       Wilson Zuluaga, President of Latinfood U.S. Corp. d/bla Zenú Products Co. (via email)


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